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                     EXHIBIT 29
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                                   Amendment to Rule 10b5-1 Trading Plan

       The Trading Plan dated March 5, 2019 (the "Trading Plan") entered into between Elliot Jordan (Seller") and
       UBSFS, acting as agent, for the purpose of establishing a trading plan that complies with Rule 10b5-l(c)(l) under
       the Securities Exchange Act of 1934, as amended (the "Exchange Act") is amended on         N\aj  '2.'2..~ , 2019
       as follows, with the consent ofUBSFS:

       On the amendment effective date Paragraph 8 shall be amended as follows:

       (a)       at the close of trading on June 29, 2020

       (f)       the date that the aggregate number of shares of Stock sold pursuant to this Trading Plan reaches 650,000
       shares

       On the amendment effective date, the Order Cancel Dates for Orders A-1 through A-5 shall be
       amended to June 29, 2020.

       The following shall be added to Exhibit A as Trading Schedule B:

Trading Schedule B (For sale of Long, Restricted or Control Stock)




                                                                                                                     linked-share
                                          $15.00      GTC       29June2020                                           linked~share •
             28 June 2019      30,000     $15.00      GTC       29 June 2020                                         linked-share
       *Shares are held restricted at the agent

       PLEASE NOTE: If any orders are placed at the market or if the market price is higher than the
       limit price at the time that orders are placed, such orders shall be sold over the course of the
       trading day on a Best Efforts/Not Held basis. "Not Held" is defined as a market or limit order that
       gives UBSFS both time and price discretion to attempt to get the best possible price.


       This Amended Trading Plan will become effective on~e,_            22-.J.. ,
                                                                                2019, which shall be no earlier than 30
       days from the contract signature date. UBS Financial Services~ i l l continue to exercise Options and/or sell
       Stock pursuant to the terms of the original Trading Plan until this Amended Trading Plan goes into effect.
       Seller certifies that the representations and warranties of Seller contained in the Trading Plan are true at and as of the
       date hereof as if made at and as of such date.
       Seller has obtained a new Issuer Certificate in the form of Exhibit B.
       SELLER REPRESENTS AND WARRANTS THAT THEY WILL RETAIN A COPY OF THIS AMENDMENT
       AFTER EXECUTING/DATING IT BELOW.
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By executing this Trading Plan Amendment, Seller represents and warrants that Seller has
carefully reviewed in detail the specific Trading Instructions set forth in Exhibit A, that the Trading
Instructions are accurate, complete, and accurately reflect the intent and instructions of Seller.




                                                                        s l 1-2..) \~
                                                                       Date



UBS FINANCIAL SERVICES INC.


4,~
Name: Denis Murphy"
Title: Director




N ~
Title: l) rector
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                                                       EXHIBITB
                                              ISSUER CERTIFICATE

1.   Farfetch LTD. ("Issuer") acknowledges that it has received, reviewed and retained a copy of the Trading Plan
     dated March 5, 2019 the ("Trading Plan") between Elliot Jordan ("Seller") and UBSFS relating to the
     common stock oflssuer (the "Stock"); and the Amendment to Rule 10b5-1 Sales Plan dated as of
             11.      , 2019 (together, the "Amended Sales Plan") provided, however, that Issuer makes no
     rep entation or warranty concerning the Trading Plan or whether it complies with Rule 10b5-1 or any other
     applicable laws or regulations.
2.   Issuer believes that the Trading Plan is consistent with its insider trading policies, and has no reason to believe
     that there are any legal, contractual or regulatory restrictions applicable to Seller or Seller's affiliates as of the
     date of hereof that would prohibit Seller from either entering into the Trading Plan or selling Stock pursuant to
     the Trading Plan.
3.   To avoid delays in connection with transfers of stock certificates and settlement of transactions involving
     restricted securities, if any, under the Trading Plan, and in acknowledgment of UBS Financial Services Inc.'s
     agreement in the Trading Plan that sales of Stock under the Trading Plan will be effected in compliance with
     Rule 144, Issuer agrees that it will, within a commercially reasonable time after Issuer's receipt of evidence,
     reasonably satisfactory to Issuer and its counsel, that Rule 144 has been complied with, instruct its transfer
     agent to process the transfer of shares and issue a new certificate to Seller's transferee or nominee that does not
     bear any legend or statement restricting its transferability to a buyer.
4.   If client is exercising options under the Trading Plan then the Issuer acknowledges that Seller has authorized
     UBSFS to serve as Seller's agent and attorney-in-fact to exercise certain Options to purchase the Stock from
     time to time pursuant to the Trading Plan. Issuer agrees to accept, acknowledge and effect the exercise of such
     Options by UBSFS and the delivery of the underlying Stock to UBSFS (free of any legend or statement
     restricting its transferability to a buyer) upon receipt of a completed Stock Option Exercise Form (ifrequired).




IN WITNESS WHEREOF, the undersigned have signed this Issuer Certificate as of the date
specified below ("Issuer's Certification Date")




     ~"..c.1.v                                                              ~22                            2.o/G(,
     Title:   6,-f:~ 1c(l.Kt,. LolA,µ$ ec...-
NOTICE: Signature date may not be earlier than Seller's Adoption Date as defined in the opening section of this Trading
Plan.
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                                                             Rule 10b5-1 Trading Plan


 This Trading Plan (the ''Trading Plan") is entered into on        'O'> / o~Zo \ 9            ("Seller's Adoption Date")
                                              .                         (M:M         /YYYY)                        .      ·.·
  between EUh>t J<>rdan (''Seller") and UBS Financial S~ices Inc. (''UBSFS«) f9rtheptJTT)Os~ pf selling, in accordance with
  Rule 1Ob5- l (c)(l) of the Securities Exchange Act gf 1934 as anieniled {the "Exch{uige Act"), shares Clf co!]lrtlon stock of
  Farfetch, LTD. ("Issuer'')._FTQ;I (Ti:cker) ].isted on Exhibit A ("Sto'c~"), which riiaY, iriclucle shares that the Seller has the right to
  acqliite under .outstan_ding si;ock optiqns, ("the Optioris'')~ shares that are acqµired by Seller pursuant to the Issuer's employee stock
  PHI'~~~ RliW-{$~ "E§PP. $!9R~"); ~h:~¢;.thil:t ar~ acquir¢d 1.1p9n y~stin& of 9yJ5tartding restricted stock units/awards from issuer
; (''R$UsiRSAs't and shares that are acquired
                   .          -         .       .    upon vesting of outstanding perfoqnartce share awards ftom Issuer<:.''PS;'\s:;).


 Seller and UBSFS agree as follows:
 1.       Specific Plan of,<:;ale. lJBSFS, acting as agent, agrees to effect sales of Stockon behalfof Seller in accordance with the
          specific instructions set forth in EXbibitA(the ''Trading Instructions") arid the other ptovisioti$ of this Trading Plan as set
          forth bl.'llow. UBSFS's oblrga,tions under this. Trading Plan will not talce effect until UBSFS (by countersigning) approves
          and accepts this-TradingPra11,
 2,        Fees/Commissions; Seller shall pay UBSFS $0.05 per ·share of Stock sold; with such amowits to. be deducted by UBSFS
          .ti:9.iJlth~ prn~~d~ Q:($.at~.$@.!l~r tlli~ ti:adingPl}ln,                                                   ·
 3.       Seller's. Representations and Warranties . .Seller represents and warrants that:
          (a)          Seller is notaware.ofany material nonpllblic information concerning Issuer qr any securities ofissuer;
          (b)          Seller is, enteringinto this Trading Plan in gooci fa.itll and not a$• pai;t of a: plat1 or scheme to evade the
                       prqhibitions ofRwe l0b5- l;         ·
          (c)          Seller has in.formed Issuer of this Trading Plan, has furnished Issuer with a copy of this trading Plan, and has
                       determined that this Tra,ding Plan is consistent with Issuer's insider trading and market abuse policy;
           (d)         Seller has. disclosed to tJBSFs: any agreements that Seller is currently party to, or within the past 60 days has
                       been party to, with another broker, _dealer or financial institution (each, a "Financial Institution") entered into for
                       the purpose of establishing a trading plan that complies with E,.ule lObS-1 with respectt~ securities oflssuer;
          (e)          Seller is not subject to any legal, r.egulatory or contractual restriction or undertaking that would be violated or
                       breache4by UBSFS conducting sales in ac<:ordancewithtlils Trading Plan;
           (f)         the Stock~ be sold under this Trading Plan is owned free and clear by Seller and is not:subject to any liens,
                       security interests or other encwnl::,firil.ces or litnitations. on dispositions, other than those imposed .by Rule 144 or
                       Ru.le 145 w1der the Securities Act of i 933, as amended (the ''Se.curities Act''),. if applicable; and
          (g)          Seiler has had ah opportunity to consult with Seller's own advisors asto the legal, tax, financial and other
                       aspects ofthis. Trading Plan, including this Trading Plan's compli!Ulcewith Rule· lOb:S:-1 an~ applicable state
                       law. Seller has not received or relied on any representations frqm UBSf S concernifig this Trading Plan's
                       compliance with Rule 1Ob5-1.
 4.       Agreements bv Seller. Seller aclcnowledges @d agrees to the following provisions:
           (a)         Brokerage Account. Seller shall open a sole-purpose UBSFS brokerage. a'Ccount in the name ofand for the
                       benefit of Seller (the "Plan Accounf'), prior to acceptance and approval of this Trading Plan by the 10.bS-l
                       Group ofUBSFS.
           (b)         Delivery o(Stock. Seller shall deliver all shares of Stock, excluding restricted s,ecurities, as,defined iri Rule 144,
                       tQ  be sold pursuant to this Tra<ijng Plan into the Plan Account prior to the commencement ofany sales under this
                       Trading Plan. In addition to restri¢ted securities, this also excludes any Options; PSAs, RS.As, RSUs. ESPP, or
                       shares held at the transfer agentto be sold under the Trading Plan as listed in Exhibit A. If the amount of Stock
                       to· be sold is designated as an aggregate dollar amount, Seller agrees to deliver shares of Stock in an amount to be
                       agreed upon by Seller and UBSFS as sufficient to effect sales aI1ticipated under this Tr.ldirig f>lari;. and upon
                       notificatios11
                                    . from UBSFS
                                           . -   - that
                                                      . the
                                                         ' - number
                                                             .     - of shares Of Stock
                                                                               ·-• -  .· in the Plan Account
                                                                                                      ·-     is. less. than the numb"er
                                                                                                               "                 .      of


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                 shares that UB$FS estilllates are to be sold pursuant to this Trading Plan, Seller agrees to deliver prornptly to the
                 Plan Account the number of shares of Stock specified by tJBSFS as necessary to eliminate th.is shoi:tfall.
        (c)      Hedmng Transactions. While this Trading Plan is in effect, Seller shall C<>mply with the prohibition 'set forth in·
                 Rule l Ob.5-l(c)(1 J(i)(C) against entering into. or altering'a corresponding or hedging :ttansa:ction or· position with
                 respect.to thelssuer's: stocl<.
        (d)      Notice to UBSFS. ·seller: shall notify UB.SF$ to. terminE1.te or s~sperid saJes,. a.s appropriate, as soon as practicable
                 up<'m the occurrence of~y ofthe. event$ conternpbMd in paragraph 7(a) or (b) or·paragraph'S(c).                ·
        (e)      Communications. $eller snail 09t, directly ◊r iµdi:re~tly; ·cotrtmimicfl.te any material nonpublic lnformation
                 relating tt> ~e Sto9k or 1$suerto: any employee of the UBSFS i Ob5-1 Group or.any UBSFS Financi~ Advisor.
                 •     .   ·.·,--=:            -     --   -   ·-   •••   --   ·- .•   · · . ; •.. -   .. -   -··-   -   --.   .•


        (f)      Cdinplii:mce with Amzlicable Laws and Required Exchange ActFilings~ Seller shall comply with alJ laws, rules
                 arid regulations applicable or related to this Trading Plan and: the sale of Stock he~utidet, and Sc:iller shall make
                 all filings required under Sections 13 and 16 .ofthe Exchange Actin connection with this Trading Plan in a
                 timely manner.                ·                                                                                  ·
        (~)      No Influence. After his/her execution of this T~(ling Plan, Seller shaU not attempt to exercis~; any influence over
                 how, when or wh~er to effect sales of Stock pursuant to this 1'ra:dingPlan.
     . .(h:)~ ·~ ~.SiockNon-Marginable.TheSJo~kis not m~gin!lbleaf!.c!.. may not be tJseclby.S~ller~iis collater~l for ariy purpos~-~ ....
        (i)      F:iecution. AveriigePrii:ing and Pro Ra.ta Allocatiafl ofSales. UBSFS may sell Stock on any nation!li secllnties
                 ~~¢p~gg~j1;1 !h~ QY'.~!;.~~-9QUI1ter Illarket, on an automated trading system or otherwi.s~. ·DB Sf$ or «:>ne O:fits
                 zjiiliat~s may ma:ke•a market Injhe~ Stockand may act as pnncipa.Cin exc:ctitihg sllles 4nifer tneTrading Plan,. to
                 the extent that UBSFS administers other trading plans. relating to lssu.er's ~ec\lritieS, UBSFS may, agg;regate
                 orders for S:eHer with orders under other sellers' trading pl~s :f(lr executioti in a block and allocate each
                 execution on a pro rata basis to each seller. Jn the event of partial execution ofblockorders, UBSFS shall
                 all9cate the proceeds gf all. Stock actually spi<Lon a particular day pursuant to all :Rule 1Ob5~ 1 trading plans
                 concerrring Issuer's $'ecurities tliat UBSFS manages pro r.ata based on the ratio of (x) the number of shares to be'
                 spld pUI'$Uiult tQthtrorder i.nstructions ofe'ach Trading Plan to (y) the total numbet ofshares to be s:o!(l urtdetail
                 Tradirig. Plans having the same type oforder instructions.           .
        G)       Exclu.#.vity. Until this Trading Plan has been terminated, Seller ~hall not enterinto any agreement with, give any
                 instructioris to, or adopt a plan for trading with another Financial Institution with respect to the purchase or sale
                 of the Stock or the Options that are.referenced in Exhibit A of d:i.e plan, for the· purpose of establishing a trading
                 plan .that colllplies with Rule I Ob5-l.                               .
       (k)        Acknowledgment of Relief.from Obligation to Effect Sales. IJBSFS shall be relieved of its obligation to sell Stock
                 ,as otherwi.$e i;equired by paragraph I above at any time when:
                 (i)                   UBSFS has determined in good faith that (A) it is pr<;,hibited from doing so by a legal; contractual or
                                       regulatory restriction applicable:to it or its affiliates or to Seller or Seller's affiiiates; or (B) selling
                                       Stock ls impracticable as the result ofa, material ~dverse change in the financial markets or in the ·
                                      .market actfvity ofthe. Stock, or as the re~ult of ari 'act of God' as described in paragraph 1O(b)(i) below
                                       or (C)a tf.idirig ~uspensiop. with respect to the Stock by the Securities and Exchange Commissicm or the
                                       primacy H~ted exchange or f.t delisting of the Stock or a banking moratorium ha$ occurred;: if UBSFS
                                       cannot effect a sale for any of such reasons, UBSFS shall effect such $ale as promptly as pra¢tic~ after
                                      the cessation or terminaiion of: such cause, subject to the restrictions set forth in paragraph 1 of
                                       Exhibit A;
                 (H)                  This Trading Plan is suspended in accor.dance .with paragraph 7 below; or
                 (ill)                This Trading Plan is terminated in accorc!ance with paragraph 8 below;
5.     Rule• 14.4 andRule. 145. With respc:;ct tQ ~ales of Stock subject to Rule 144 or Rule 145 under the Securities Act, Seller
       and UBSFS agree to colllply with the following provisions:                   ·
        (a)      Agreements by SeUet Regarding Rule 144 and Rule 145.
                 (i)                  Seller agrees not to take, and ag;rees to cause any perscm or entity with Which SelJer would be required
                                      to aggr.egate sales ofSte>ck pursuant to Rule 144(a)(2) or (e) not to take, any action that wQuld cat1se the
                                      sales hereunder not to ;me<:;t all applicable requirements of Rule 144 or Rule 145.

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              (ii)        Seller agrees to complete, execute and deliver to UBSFS, Forms 144 for sales tQ be effected under the.
                          Trading Plan at such times and in such ntJmbers as UB:SFS shall l'etl,$ona,bly request. SeUer hereby
                          grants t.roSFS. a: power of a:tt9mey to CQmplete and tile ori behillfof Seller any Forms 144 .as required
                          by a,pplicable law, rule or regubition .in qrder to sell $tpck purs~ttothis Trading Plan in accordance
                          with Rule 144,                                                           -
              (iii)        Seller agrees t9 complete, execµte wid deliver to UBSFS Rule 144 Seller's Representation Letters (in
                          tb.e form attached as Exhibit C) for sale~to be effected under the Trading"Plan at such times and in such
                           numbers as iJBSFS shall request.                                       ·
                            Seller agrees to notify the 1Obs~ I Group of UBSFS immediately ifthere is any change in Seller's
                          . employmen~ iufiliate;or non..affiliate..status.                              ·
     (b)      Agreements by UBSFS Regarding Rule 144 and Rule 145.
              (i)         UB$FS. agrees to conduct all sales purstiatJt to the T~ding Plan in accorda:nce with the manner of sale
                          requirement of Rule l44. UBSFS $hall n:otaffect any sales that it knows would exceed the
                          then-appUcable voiume limitation under Rule 144.                                          ·
              (ii)        Ul3SFS agrees to file such Forms 144 furnished by Seller pursuant to paragraph S(a)(ii) on bebalfof
                          Seller as required by applicable law.                                    ·
              (iii}       UBSFS agrees to submit such Rule l 44 Seller's Representation Letters furnished by Seller pursuant to
                          paragraph S(a)(jil) on behalf of Seller as required by bsuer's transwr agent
6.   ()ptions. Ifapplicable~ Seller and UBSFS agree-to the pfovt~ions-regafciirig die exerciseofOpfio~ ~oh~ned iifExhibtt                 -
     ~                .                                         .




     (a)      Seller's Representations and Warranties.
              (i)         Selle.I' teprcser1ts and warrants that the Options listed in Exhibit A are held freeiand dear without liens,
                          security interests or other encumbrances or limitations on: exercise ofthe vested portion there:of, other
                          than the requirement that Seller comply with the: exercise. provision$ ◊f$µch OptiQ~; ~d,,
              (ii)        The shares of Stock acqllired through exercise ofthe.Optjons shall be held free.and clear by Seller
                          without liens, security interests or other encumbrances or linritations on dispt>sition:
     (b)      Delivery.
              (i)          Seller agrees to complete, execute and deliver to UBSFS Stock Option Exercise Notices in the form
                           provided by Issuer, for the exercise of Options pursuant to the Trading Plan at such times and in such
                           num:J,ers as UBSFS shall reasonably request Seller hereby authorizes UBSFS. t9 deliver such Stock
                           Option Exercise Notices to Issuer on Seller's behalf as necessary to. e:ffectuate such exercises and setJ;le
                           the sales of Stock underlying such Options. under the Trading Plan. Seller agrees to mak,e appropri11te
                           arrangements to ensure that Stockreeeived upon the e,xefcise of ()ptions shall 1:,e delivered to the Plan
                           Accotlllt promptly after Issuer's receipt of.the applical:lle Stock Option Exercise Form.
               (ii)        JJBSfS shall be.relieved .of its obligation to e){ercise Options and sell Stock as otherwise requiredat any
                           time when Seller has failed to deliver Stock Options Exerdse Notices· or underlying Stock. ·
     (c)      Exercise.
              (i)          Putsuant to an appropriately andfully completed Stock Option Exercise·Notice receivep frolll Seller;
                           UBSFS shall exercise Options necessary to effect sales of underlying Stock in the manner specified in
                           Exhibit I\.
              (ii)         UBSFS shall, in connectio11 with the exercise ofOptio.ni,;, remit to Issuer the exercise price along with
                           such amqunts as may be 11ece$sary to satisfy withholding obligations. These amounts shall be deducted ·
                           ftom the pro·ceeds of sale of the Stock, together with late fees, if applicable.
              (iii)        UBSFS shall in no event exercise any Option if, at the time of exeri:;ise; the cost of the Option exercise
                           (plus fee~ atJd commissions) is equal to or greater than the market value ofthe Stock;




                                                                                                         ~UBS Financial Services Inc, 2Ql8
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7.   Suspension. Sales under this Trading Plan shall be suspended as follows:
     (a)       Promptly after the d~te on which UBSFS receives notice :from Seller or Issuer oflegal, contract_wil or regulatory
               restrictions applicable to Seller or Seller's affiliates that would be. violated by UBSFS ·selljng Stock under this
               Trading Plan (such notice merely stating that there is a restriction applicabl~ to Se)Jer without specifying the
               reasons for the restriction), including a restriction bas1::d .on Seller's awaren'ess ofmaterii).Ln:onpublic information
                in. connection with atendef offer for rssµer's se¢uriti~s.(transa¢tions on the bas.is ofwhich Rule Me~3 ofthe.
               EJCcharige Act col.ild be violated). The Seller or the Issuer \\'ill notjfy UBSFS in writing of its intention and
                i;pecify the beginnmg date and the ending date,to the extent that it is known. of the suspension ortc::mporacy
               With.draWaJ period. Ure nWce shall be provided no less than two (2) business days prior to the beginning or the
               ·end of suspension date. For the avoidance of doubt, this paragraphJs m~11t to allow, but nqt 9bligate, Tu~uer to
               provide a suspension notfoeJn accordance witldhis para~pli:: - .
     (b)        In the event ofa Qualifying Securities Offering, promptly after the date on which u1,sFs receives 11otice from
                Issuer or Seller ofthe Suspension Date Lllliil UBSFS receives notice from. Issuer or Seller of the Resumption
                Date;pravided. however, that (i) Seller ¢ertHies that Seller has no control over the Suspension Date orthe
                Resumption.Date, ~d.(ii) if Seller i~ unable to make sµch certification then thisp~ph shall resultina
                teQillilatio11 of the Trading Plan, rather than suspension.                            ·
                "Qualifying Securities Off'ering;' means any offering ofsecurities of Issuer for c~h in wltjc;h the l~d
            -- ~unuerwriter;.-iead~manager; initfalpurchaser;placen:ientagent·or·otheren.tity-perfori:ajr)ga-similar ful)ct,ion(:ea'Ch,
                an "Underwriter") requkes. Seller to ~ee to restrict SeHer' s ability to effect• sales pursuant to this Trading Plan.
             -·"-''$uspensionPafe'!meanHbedat~-0n-wlifoh-acptetiminacyprO'sp~lus,offeringm.cmiqn,indum,.offering:circular. ..
                .or Qthet dis:ClQ~ufe. documeiit(~a.qh, .a "Prelimiri~ Offering Docun::ient") is first used to. market securities of .
                 j~suer by the Underwriter, tlr ifa, frelunh):acy Offering Pocwn¢nt i~ not used, the date on which the underwriting
                 agre¢ment; purchase agreemerttrplacement agent i1greeniei:l.t or similar agreement (each, an ''Underwriting
                 Agreement'') is entered itlto by the Underwriter and Issuer.
                ''R:~~umption Date" means the day immediately following the expiration of the.time perii;id dtJ.ring which Seller
                was restncted from effecting sales pursuant to thisTradingPlan Lil accordaµce with the Undei:Writirtg
                Agreement.                 ·                             ,
                For the avoiqance QfdQubt, this paragraph is meant to allow, but not obligate, issuer to. provide a suspension
                noti¢e in accordance with this par;igrapb.
     (c)       Jn the event.thatthe 10b5-l 9,toup ofUBSFS becotnes a:ware.ofmaterial nonpublic information concerning
               !$suer or the Stock, UBSFS may be requited by applicable law or, in its sole discretion, find it advisable, to
               suspend ~les under this Trading: Plan. In such case, UBSFS shall promptly notify Seller of tlle suspension of
               sales under this Trading Plan.
8.   Termination. This Trading Plan will terminate on the earliest t<> occllr 9{the following:
     (a)        at the close oftrading on May 2?; 2020;
     (b)        promptly afli;r the d* Qn whi9h D:aSFS receives notice from Seller of the termination ofthis Trading Plan;
               prqvii:led that the' I~suet has rev~ewed and approved such termination. in which case, Seller agrees to notify the
                rssuerptomptly gfsuch termination; and providedfarther that Seller may only establish a new sales plan one
                h1m.dred and eighty (180) days after such termination.
     (c)        upon fue;teasonable determination by UBSFS, or promptly after the reaspnal:>le de\ermin:atioh py Seller and
                notice to UBSFS, that this Trading Plan does not ~omply with Rule 101;,5.-1 ;.
     (d)        promptly after the date UBSFS is notified of the death of~eller;
     (e.)       immediately in the event that Seller fails to deliver any Stock pursuant to paragraph 4(b) or fails to satisfy the
                delivery reqajrenierits witli respect to Stock underlying Options set forth herein; or
     (t)        the date thatthe aggregate number of shares of Stock sold pursuant to this Trading Plan reache.$ 500,000 shares.

9.   Confidentiality• . UBSFS will maintain the confidentiality of this Plan and will no4 without the advance written
     permissi9n of Seller, dis:ck,sec the specific temis of this Ttading Plan to any person or entity, except: (i) to those persons
     who reasonably need to know the information in the execution and administration of the/Trading Plan (including the
     Issuer); (ii)to respond to any inquiry from the Securities and Exchange. Commi!;sion, fl'NRA, NY~E, NASDAQ, or arty
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       other self-regulatory organization, any State securities regulator, or any other govemmenml or qtiasi-governn1ental
       authority regarding tbe Trading Plan; or (iii) to any other person or entity to the extent such disclosure is required by law
       or regulation, or bya subpoemdssued by a court ofcompetentjurisdiction.
10.    Indemnification; LimitationofLiability.
       (a)        Indemnification.
                  (i)      Seller agr:ee:s .to• indenutlfy il.nd hold hannle.ss Ul:38_FS ~d its directors, officers, employees and
                           affiliates frpm and against aU claJms; Losses, damages and liabilities (including;, without limitation, any .
                           JegW c;;r other expenses reasonably incurred in connection with defending or investigating any Such
                           ~on or claim) (collectively, "Losses") arising.out ofor attributable tQ (A) UBSfS's compliance(by
                           act or oniissfonl withthisTraclfo:gPlan, .other than aisefforlh i0$:?ctronIO(a)(ii) P~low, (BJ ~nyoreacn
                           by Sellernf this Trading Plan (including Seller's. representatiqns and w~anti~s her~ilfidet), or (C) any
                           violation by Seller ofapplicable laws or regulations related to or in connection With this Trading Plan,
                           except, in each instan~, to the extent c:au,$ed by UBSFS's J,reach of this trading Plan, gross negligence
                           or willful misconduct. This indeJllllil'ication shall survive termination of this Trading Plan.
                  (ii)UB~FS agrees to indemnify an4 hold harmless Seller from and against all Losses arising out of or
                     attributable to UBSFS's breach of this Trading Plan or its gross· negligence or wiW\Il mfscon:du¢t in
             ________ c.onnecti6n_withthis_Tra.<::ltn$fl_l@.       ·            -        _ _ _______
       (b)        Limitation ofLiability.
                         -·Notwithstanding:any other-pmvision hereof;· UBSFS-s:ball notbe-li~.~ tQ $.eller, and Seller s~l-npt.be.:
                                                                                                                           or
                           liable to U13SFS, for: (A) special, indirect, pµriitive, exe.mplary or consequential diunages,. incidental
                           losses .·or: ¢unages <>f any kind, ~ven if advised ofthe possibility of such losses or damages: or if such
                           Io:sse:-s or d$ag~s could have been reasqilably foreseen; or $) any failure. to perform or: to cease
                           perforrnai:t:ce oi; ::my delay in perfq:rmance that results from a cause or circumstance that is beyond its
                           reasonable control, focluding, but not limited to, failure ofelectronic c,r .mechanical equipment:, str:ike$;
                           failure of common carrier or utility systems, severe weather, market cUsrup@ll$ or ;other: causes
                           commonly known as ''acts of G.od". ·
                  (ii)     Notwithstanding any o.ther provision hereof'; UBSFS shall not be liable to Seller for (A) the exercise of
                           di!;cretionary authprify pr discretiqnary controlpursµant to this TradingJ>lan, if any, or{B) any failure
                           to effect a: sal¢ required by paragraph l, excepHor failures to effect sales as a result of the gross
                           negligence t>r willful misconduct of UBSFS
I 1.   Agreement to Arbitrate; Any dispute between Seller and UBSFS arising out of, relating to or in ccmnectiqn with this
       Trading Plan or any transaction relating to this Trading-Plan shall be determined· only by arpitrati'on as provided in the
       UBSFS brokerage accountagreementreferredto inparagraph4(a).
12.    Notices.
       (a)        All notice~ to tJBSFS U11d¢rthis Trading Plan shall be provided in writing.to the 10b5~1 Group. ofUBSFS by
                  facsimile at fax num~er 201-352-4728.
       (b)        All notices to Seller under thi~ Trading Plan shall be provided by mail to the ad~s below:
                                         c/o_ The Bower, 211 Old· Street
                                         London ECIV9NR United Kingdom 45 Kingston Lane

       (c)        WSFS will provide notification of all _sales of Stock and e?(ercise of Options under this Trading Plan to Seller
                  and to Issuei: by .e-ma.il at the belowad!iresses bY () p.ni (ET) oil the date ofexecution ona best efforts basis,
                  with a final rep<:>rt by 12 p.m. ~T) o!lthe following business day. Selier and Issuer agree to notify tJBSFS in
                  writing;ofariy charigesto the contact information provided.

                                         elliot.jordan@farfetch.com
                                         frankie; willianis@farfetch..c9m
                                         james.feggeHe@ubs.com
                                         tom.camber@ubs.com


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     13.      Amendments and Modifications. This Trading Plan and the Exhibits hereto may not be arnended or modi:fied by Seller.
     14.      Inconsistenqy with ww. lfany provision of this Trading Plan is or becomes inconsistent with WlY applicable present or
              future law, rule or regulation, that provision will be deemed modified or, if nece~sat)'; rescipded in order to ¢oll'iply with
              the relevant law; .ri.lle.pr regulation; All .qther provisions of.this Trading Ptan will continue and remain in full force and
              effect.                                                                                              ·
     ZS.      GovernintLiiw, ThiSCTi'.lidlllg Plan shail be governed !:>y ami ¢qnstrued in accordance withtheinternal laws of the State
              ofNeWYork.
     16.      EntireAw;eem;ent, This Trading Plan; includl.ng Exhibits, and the. brokerage account agreement refe~d to ih
              parfl.graph 4(~) above,_ constitute the entire agreement between the parties with.respect tp this- Trilding Plan ax,:d supe:rsede
              any pnor agreements or understandiri~s with regard fo thls -Trading Plari.                                ~    --        .
     17;     Counterparts. This Trading Plan may be signed in. any number of counterpa$, each <>f which sliall be an original, With
             tlte. sam~ effectas if the signatures theretp ·and hereto were upori the s~~ instnunent; prc>vided, hoWever that (i) Seller's
              Adoption Pate is the same date that Seller signed this Trading Plan artcl its Exhibits, (ii) tlte Trading Plan Effective Date
             D)ay l:>e u9 so9µer t11iln: 30 days foll<>witlg tlte' Seller's Adoption Date; (iii) the Issuer's Certification Date; as defined in
             .E~bit B, may 11.ot be ~.rlier than the Sellers Adoption Date, and (iv) UBSFS will not approve and accept thisTrading
             Plan on any date tltatis pri◊r to the Seller's Adoption Date or tlte Issuer's Certification Date.
   - -SEI:;I:;;ERREPR:ESENTS ~ND-WARRANTSTHAT:THEYWIJ:;1,RE'fAlN-kE:0Jff-QF-THIS1'RADING:PbA.N-AFTER
     EXECUTING/DATING 1T BELOW.
·--· - -N0tf1€E-: 'FHI$---A-GREEMFJN'F CONTAJNS-APREDJSPUTB ARBI-TR-_ATJON~LAf/$.EINPA.RAGR.41J.ffll~ -
     IN WITNESS WHEREOF, the undersign~d have signed this Trading Plan as ofthe date specified beiow.

     ELLIQTJO~A.N




                                                                                o?:.-\os l-i.o \°I
                                                                              Date


     NOTICE: $ignature date abov~ must be the ~ame as Seller'~ Adoption Date as defmed in the opening sectlon:of this Trading Plan.




     ACCEPTED BY: UBS FINANCIAL SERVICES INC;



    ~~
           g·~··                                                                   ~ hf//1)
                                                                                ~
                               .
    Name: Denis Murp~
    Title: Dir_ect(>r                                             '




                                                                                 Date




                                                                                                                 @UBS FinW1Cil!IServices Inc, 2018
                                                                         6
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                                                                     EXHIBIT A
                              This Exhibit A may not be amended except in accordance with the Trading Plan.
         The Seller confirms the following:
         (Check applicable boxes)

         . ili'ain        r
                        I am not an officer, director or direct or indirect beneficial owner of greater than 10% of
          any class of eq? security of the Issuer

            r   I have   lyi: have not   been notified by Issuer that I am subject to the requirements of Section 16 of
         Securities Exchange Act of 1934 ("Exchange Act")

            ~ave         r I have not been notified by the Issuer that I may be deemed an "affiliate" as defined in Rule
            144 of Securities Act of 1933 ("Securities Act")



                                                    SPECIFIC TRADING INSTRUCTIONS
        In no event shall UBSFS sell any shares of _Farfetch, LTD._ (Ticker: FTCH) pursuant to the Trading Plan prior
        to ()     b l~-J-fi.._    (the "Trading Plan Effective Date"), which is compliant with the Issuer's Insider
        Trading Policies and may not be less than 30 days from the Seller's Adoption Date.


Trading Schedule A (For sale of Long, Restricted or Control Stock)
                                                                             ' Duration
                                  Number of                                                  Order          Original
Order        Order Entry                            Type of order: Limit     I of order                                    Nature of
                                 Shares to be                                '               Cancel          Date of                          Cost Basis
 A#             Date                                 Price ($) or Market        (Day,                                     Acquisition
                                    Sold                                                      Date          Purchase
                                                                             I   GTC)
  1          03 June 2019            50,000                 $25.00               GTC       29 May 2020       9/21/2018         IPO            linked-share
  2          03 June2019            100,000                 $27.00               GTC       29 May2020        9/21/2018         IPO            linked-share
  3          03 June 2019           100,000                 $29.00               GTC       29 May 2020       9/21/2018         IPO            linked-share
  4      . 03 June 20.19.           150,000                 $30.00           .   GTC       29. May 2020      9/21/2018         IPO            linked-share
  5          03 June 2019           100,000                 $35.00               GTC       29 May 2020       9/21/2018         IPO            linked-share

NOTE: No more than 5% of the Daily Volume ("POV") should be sold on any given day with respect to the outstanding orders under
Trading Schedule A; this POV limit is, however, only a target. UBS will use commercially reasonable efforts to comply with the POV
    limit target, but Seller agrees and acknowledges that (i) UBS does not represent or guarantee that the POV limit will not be
  exceeded; and (ii) any sales above and beyond the foregoing POV limit target shall stand and be deemed valid sales hereunder.
                             The order listed above will be entered daily on a Not Held / Best Efforts basis.




        *The shares listed above are held in electronic book entry form and bear a restricted legend.

        PLEASE NOTE: If any orders are placed at the market or if the market price is higher than the limit
        price at the time that orders are placed, such orders shall be sold over the course of the trading day on a
        Best Efforts/Not Held basis. "Not Held" is defined as a market or limit order that gives UBSFS both
        time and price discretion to attempt to get the best possible price.

        1.       A "Sale Day" shall be any day during the "Order Sales Period", defined as the period between the Order Entry Date
                and Order Cancel Date or Order Execution, on which the sales price specified in the trading schedule is met;
                provided, however, that if any Sale Day is not a Trading Day, such Sale Day shall be deemed to fall on the next
                succeeding Trading Day within the Order Sales Period                         ·

        2       IfUBSFS cannot sell the share amount on any Sale Day for any of the reasons described in Section 4(k)(i) & (ii) of
                the Trading Plan, than UBSFS will re-enter the sale on the next possible Trading Day as defined below.
        3.      After receive of timely advance written notice from Seller or Issuer to the 10b5-1 Group ofUBSFS, share amounts
                and the limit prices shall be adjusted on a proportionate basis to take into account any stock split, reverse stock split
                                                                      A-1                                 ©UBS Financial Services Inc. 2018
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     or stock dividend with respect to the Stock or any change iri capitalization with respect to Issuer that occurs while the
     Trading Plan is in effect.
4.    A. "Trading Day'; is any day during the Order Sales Period on which the primary listed exchange is. open for bll$iness
     ·and the Stock trades regular way; provided, however, that a "Trading Day'' shall mean only that day's regular trading
      session ofthe primary exchange and shall not include any extended-hours, or after-hours trildingsessi()ris that the
      primary exchange may allow;




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specif«; Tradiitglnstructions setfortlt in ExhibitA, thtilfhe Trading Instructions are accurate, complete, and
ai:curate/ji reflect tl,e intent and i1istructions ofSeller.                           ·

                                                                                07:::.\oS. ) 2-P \°I
                                                                            Date




NQTIC::E: Signature date must betbe same as. Seller's Adoption Date as defined in the. ope"inJs~tion oft.his Trading flan.




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                                                                       EXRIBITB
                                                               ISSUER CERTIFICATE

        1.                LTD ("Issuer") ac~owledges that it has received, reviewed ru1d retained a copy of the Trading Plan dated
             _ _..._,___ _,._'2._c,_li.._.the ("T@dingPlan'')betweEln Elliot Jordan (''Seller") and UBSFS relati11gt6 the colUrtion stock of
             Issi.ler . _.e "· ockn); provided, however, thatJssuer makes no representation or warranty conc;etning the Trading :Plan e>r
             whether it complies with Rule LObs~1 or any other applicable laws or reg1,datiori$.
       2. Issuer believes that the Trading Plan is cqnststentwith. its insider trading p.olicies, ~ci lifi$ no reasqn tp l:>elieve that there
             are any legal, c..ontractual orregulatory restrictions applicable·to Seller or Seller's.affiliatt}s asofthe date of hereof that
             would prohibit Seller from either <intering intp the Tradit1g Pl~ or selHtig Stock pur,suant i:o the Trading Plan. ·
       :r.   To avoid<felaysTn corinec,tron··Mth·~~~rs iJf'~tockcertificafes ancl'setttementoftra11sactions involving restricted·
             securities, if any, under tlre Trading Plan, and in acknowledgment ofUBS Financial ServicesJnc..'s agreement in the
             Trading Plait thafsales of Stock under the Trading Plan will be effected. in compliance with Rµle -144, lssuer agrees that it
             will, witjtln a comnietcially reasonable time after Issuer's receipfof.evidence, rea/,onably satisfactory tt> I$suet imd its.
             cpunsel, that Rule 144 has been complied with; instruct its transfer agent to proc:ess the transfer of shares and issue: a n_ew
             certificate to Seller's transferee or nominee that does not bear any leg~nci or statement restrlcfutg its. transferability to .a
             buyer.                                                                                                              ·
      _4, Jfclient is_e){flt~isjllKQPtibns>U}!der the 'fradirigPlan then the I.s:suer acknowledges that Seller has authorizedUBSFS to
           serv~ a$ Seller's agent and attQI'Iley:.in.-fact to ex~rdse certain Options    to purchase
                                                                                                  Tue Stock from time to ti.me pursuant to'
                    the Trading Pl~. Jssuer agrees. t9 accept, !lcloiowleclge and effect the exercise of' such Options by UBSFS and the deUvery
· ·· - ······ -·· - of~underlyingcSt90k.to..UBSES.(free ofan)' legend..or.statementrestrictlngjts transfeoihilityt9 a. 1:!.1,1j¢t) YRQ!l!~fltptl'.>f
                    a completed Stock Option Exercise Form (if required).                          ·



       IN WITNESS WHEREO:F, th¢ undersigµed have: $igned this Issuer C::ertific.ate as·ofthe date specified below (''Issuer's
       Clertjfication !)~')                                                 · ·                                    ·




             Name 6 A ~ 11\A'{ 11.J!nW
             Title; &f_,..::.. €a.1"l. W\..A-t->&£.L
       NOTICE: Signature date niay not be. earlier than Seller' sAdoption Date as -defined in the opening !!CCtio)l of thisTriiding Plan.
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                                                                     EXHIBITC

                              This Exhibit C may not. be amended exceptin accordance witli the Trading Plan

                                                                RULE 144 LETTER

        UBS FinancialServices Inc.                                                  Farfetch 1.TD.
        Attn: 1065-1 Group                                                          TheBower:2il Old Street
        1000 Barbor Blvd, :yd Floor                                                 London EC1 V 9NR lJnited Kfitgdom
        Weehiiwken, NJ 07086



        lil>conjurtction with my order(s) to sell shares of common stock ofFarfetch LTD. ("Issuer'') (''the Stoclc'), through you as
        broker or dealer for my account pursuant to the RIJle l 0b5~ l Tradiug Plan dated               . (the '"fraciing J?lan"),.under
        the Sec.unties Exchange A.ct of 1934, as amended (the "E:icchange Act"), I advise you as follows:·               ·
        l.   I intend tQ sell Stock pursuant tp R4le 10b5"l. I intend for UBS Financial Services Iil.c. to adhere to theTradlng Plan
             without alteration or modification during the plan period.
-~- - -2.-   Iarn-llll affiliate of the Issuer.
        3, The number <>f shares of Stock, which 1 have ordered youto s.ell as broker or dealer for my account, will conform to the
        · · ---- Siifeslns.trifcfionsin ExhlbirAortn:e-nading•Ptan, ·                                                   "-
        4.   I hi1.ve. verified thatlssuer has been subject to the Securities and Ej{change Conin:li:~sion (the i•SEC'i) information reporting
             requfrements pursuant to the Excha11geA~tfQr at least Ute preceding 90 days and has filed all required periodic repqrts
             during the 12 months preceding the fust sale or <;hiring any ~h9rter periodthat the $EC may require. As of the elate' ofthe
             Tradin~Plan,Jdid notknow of!jny111ateriaJ nonpublic information concerning Issuer.
        5.   If the 5-ecuriti~s beingsold are "restricted,securities" as defined in paragraph (a)(J) ofRul~ 144; I confiTlll that I have been
             the benefi~ial owner for ii period of at least six (6) months as provided in paragraph (d) of Rule 144.
        6.   a) I have ,nCltsolicited or arranged for the·solicitation of any orders to buy in anticipation or in connection with my
             proposed sale.s.
             b) I have made no payments to any other person in connection with your execution ofm:y order.
             c) I have not agreed to.act in concert with any other person in col1flection with my proposed sales.
        7.   It is my bona fide intention to sell the Stock as expfess;ly prescribed in the Trading Plan pursuant to the Plan.
        8. I understand that the paymentofthe proceeds of the sales will be delayed unti I the shares ofStock are transferred and
            delivered free of resfrictiops· to UBS Fiiuincial Services Inc.
        9.   All capitalizedJen;is 1.1Sed in this Rule 144 Letter shall have the meanings asc:ril;ied to them in the Trading Plan.
        Tµe urtdersJgr;ied agree:s to notify UBS Financial Services Inc. immediately if any of the above representations become
        inaccurate before the sales are.completed.

        Very truly yours,

                                                                                Elliot Jordan
        Signature c:ifthe Selle·                                                Print Name
        c/o The Bower, 211         Street
        London ECI v·9NR United KinJ~dom

        Seller's Address                                                            Pate




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